     Case 2:08-cr-00085-LRS    ECF No. 503   filed 04/23/09   PageID.1884 Page 1 of 1




 1
 2
 3
 4
 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
       UNITED STATES OF AMERICA,                )     No. CR-08-085-LRS-8
 8                                              )
                         Plaintiff,             )     ORDER GRANTING DEFENDANT’S
 9                                              )     UNOPPOSED MOTION TO MODIFY
       v.                                       )     (Ct. Rec. 499)
10                                              )
       MICHEAL J. CHARLES,                      )
11                                              )
                                                )
12                       Defendants.            )

13
14          IT IS ORDERED that Defendant’s unopposed Motion to Modify (Ct.

15    Rec. 499) is GRANTED.        Defendant shall be allowed to visit his son

16    in Seattle, Washington, between the dates of April 24, 2009, and

17    April 27, 2009.

18          DATED April 23, 2009.

19
20                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
21
22
23
24
25
26
27
28


      ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION TO MODIFY - 1
